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                                                                            June 23, 2025



       Via ECF
       Hon. Joan M. Azrack, U.S.D.J.
       United States District Court
       Eastern District of New York
       100 Federal Plaza
       Central Islip, New York 11722
       Attn: Magistrate Judge Steven L. Tiscione, U.S.M.J.

                   Re:      Thomson v. The Research Foundation for the SUNY
                            Docket No. 2:24-CV-00037

       Dear Judge Tiscione:

               Cervini Law Group PLLC represents plaintiff Donna Thomson (“Plaintiff”) in the
       referenced action (the “Action”) with defendant The Research Foundation for The State University
       of New York (“Defendant,” and together with Plaintiff referred to collectively as the “Parties”).
       We submit this joint letter in response to the Court’s Order dated June 16, 2025, which requested
       that the Parties provide the Court with dates and names of the remaining deponents in this Action.
       The Parties have agreed upon the proposed schedule and are just awaiting final confirmation from
       two (2) of the deponents.

                   The deposition schedule is as follows for the remaining deponents:

           (i)           June 24: Donna Thomson (beginning at 10:30 am);

           (ii)          July 2: Samantha Lester, Dakota Arocho, and Tina Langrock (beginning at 10:00
                         am);

           (iii)         July 17: Julie Broihier (beginning at 10:00 am);

           (iv)          July 23: Bill Haupt and Michele Camacho (beginning at 11:30 am);
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       (v)       August 5: Karen Levie (beginning at 10:00 am);

       (vi)      August 26: Dr. Benjamin Luft (beginning at 10:00 am);

       (vii)     Danielle Rubino: Deponent is currently on leave and will confirm a date for early
                 August as soon as practicable; and

       (viii)    Dr. Jeffrey Low: August 21 or 22 (awaiting final confirmation).

              We thank the Court for its consideration of this matter.

                                                           Sincerely,

                                                           CERVINI LAW GROUP PLLC

                                                           By: ________________________
                                                                  Joseph P. Cervini, Jr.
 cc:          All Counsel of Record (Via ECF)




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